                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA ex rel.
 ELLSWORTH ASSOCIATES, LLP,

                        Plaintiff-Relator,           Case No.: 2:19-cv-02553-JMY

         v.

 CVS HEALTH CORPORATION, et al.,

                        Defendants.



                          DECLARATION OF BRIAN R. STIMSON

I, Brian R. Stimson, declare as follows:

       1.      I am a partner at McDermott Will & Emery LLP and counsel for defendants CVS

Health Corporation, CVS Pharmacy, Inc., SilverScript Insurance Company, LLC, and CVS

Caremark Corporation in this action. I make this declaration based on my own personal knowledge

and records and information reasonably available to me in my role as counsel for defendants. I

could testify competently thereto if called as a witness.

       2.      This declaration attaches exhibits from Medicare Plan Finder, an official website

of the United States government that enables individuals to “explore [their] Medicare coverage

options.” The landing page for Medicare Plan Finder is at the following address:

https://www.medicare.gov/plan-compare/#/?year=2022&lang=en. Any member of the public can

visit the Medicare Plan Finder website and conduct free searches without needing to log in.

       3.      Medicare Plan Finder generated coverage and cost predictions for each of the three

2022 SilverScript Part D plans—SilverScript Plus, SilverScript Choice, and SilverScript

SmartRx—for a hypothetical Part D enrollee in zip code 19106 who fills her prescriptions at the

CVS Pharmacy located at 259 Market Street in Philadelphia. By adding a brand drug and its

generic equivalent to the hypothetical enrollee’s “drug list,” Medicare Plan Finder produces

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information about the coverage status and estimated costs for the brand and its generic equivalent

under that plan at the enrollee’s pharmacy.

                                         SilverScript Plus

        4.     Attached hereto as Exhibit 1 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Copaxone (20mg/ml solution prefilled syringe),

which is currently covered by this plan, to its generic equivalent glatiramer acetate (20 mg/ml

solution prefilled syringe), which is not currently covered by this plan, filled once a month with a

box of 30 syringes through the end of 2022.

        5.     Attached hereto as Exhibit 2 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Exelon (9.5mg/24hr patch) to its generic equivalent

rivastigmine (9.5mt/24hr patch) filled once a month with a box of 30 patches.

        6.     Attached hereto as Exhibit 3 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Invega (6mg tablet extended release 24 hour) which

is currently covered by this plan, to its generic equivalent paliperidone (6mg tablet extended

release 24 hour), which is not currently covered by this plan, filled once a month in a quantity of

30 tablets.

        7.     Attached hereto as Exhibit 4 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Renvela (2.4gm packet), which is currently covered

by this plan, to its generic equivalent sevelamer carbonate (2.4gm packet), which is not currently

covered by this plan, filled once a month in a quantity of 90 packets.

        8.     Attached hereto as Exhibit 5 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Renvela (800mg tablet), which is currently covered

by this plan, to its generic equivalent sevelamer carbonate (800mg tablet), which is not currently

covered by this plan, filled once a month in a quantity of 180 tablets.




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       9.      Attached hereto as Exhibit 6 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Harvoni (90-400mg tablet), which is currently

covered by this plan, to its generic equivalent ledipasvir/sofosbuvir (90-400mg tablet), which is

not currently covered by this plan, filled once a month in a quantity of 30 tablets.

       10.     Attached hereto as Exhibit 7 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Epclusa (400-100mg tablet), which is currently

covered by this plan, to its generic equivalent sofosbuvir/velpatasvir (400-100mg tablet), which is

not currently covered by this plan, filled once a month in a quantity of 30 tablets.

       11.     Attached hereto as Exhibit 8 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Advair (250-50mcg/act aerosol powder), which is

currently covered by this plan, to its generic equivalent fluticasone/salmeterol (250-50mcg/act

aerosol power), which is not currently covered by this plan, filled once a month for a pack of 60

powders.

       12.     Attached hereto as Exhibit 9 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Suboxone (8-2mg film), which is currently covered

by this plan, to its generic equivalent buprenorphine/naloxone (8-2mg film), which is not currently

covered by this plan, filled once a month.

       13.     This analysis could not be performed for the remaining drugs the relator alleges in

the second amended complaint.

       14.     For Asacol HD (800mg tablet delayed release), Canasa (1000mg suppositories),

Istalol (.5% solution), and Xopenex (45mcg/act aerosol), the 2022 SilverScript Plus Part D plan

covers the generic equivalent, not the brand.

       15.     For Ventolin HFA (108 (90 base) mcg/act aerosol solution), the 2022 SilverScript

Plus Part D plan covers both the brand and the generic equivalent.




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        16.    For Voltaren gel, Medicare Plan Finder’s search function did not recognize the

brand name Voltaren.

                                       SilverScript Choice

        17.    Attached hereto as Exhibit 10 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Copaxone (20mg/ml solution prefilled syringe),

which is currently covered by this plan, to its generic equivalent glatiramer acetate (20 mg/ml

solution prefilled syringe), which is not currently covered by this plan, filled once a month with a

box of 30 syringes through the end of 2022.

        18.    Attached hereto as Exhibit 11 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Exelon (9.5mg/24hr patch), which is currently

covered by this plan, to its generic equivalent rivastigmine (9.5mt/24hr patch), which is not

currently covered by this plan, filled once a month with a box of 30 patches.

        19.    Attached hereto as Exhibit 12 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Invega (6mg tablet extended release 24 hour), which

is currently covered by this plan, to its generic equivalent paliperidone (6mg tablet extended

release 24 hour), which is not currently covered by this plan, filled once a month in a quantity of

30 tablets.

        20.    Attached hereto as Exhibit 13 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Renvela (2.4gm packet), which is currently covered

by this plan, to its generic equivalent sevelamer carbonate (2.4gm packet), which is not currently

covered by this plan, filled once a month in a quantity of 90 packets.

        21.    Attached hereto as Exhibit 14 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Renvela (800mg tablet), which is currently covered

by this plan, to its generic equivalent sevelamer carbonate (800mg tablet), which is not currently

covered by this plan, filled once a month in a quantity of 180 tablets.


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       22.     Attached hereto as Exhibit 15 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Epclusa (400-100mg tablet), which is currently

covered by this plan, to its generic equivalent sofosbuvir/velpatasvir (400-100mg tablet), which is

not currently covered by this plan, filled once a month in a quantity of 30 tablets.

       23.     Attached hereto as Exhibit 16 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Advair (250-50mcg/act aerosol powder), which is

currently covered by this plan, to its generic equivalent fluticasone/salmeterol (250-50mcg/act

aerosol power), which is not currently covered by this plan, filled once a month for a pack of 60

powders.

       24.     Attached hereto as Exhibit 17 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Suboxone (8-2mg film), which is currently covered

by this plan, to its generic equivalent buprenorphine/naloxone (8-2mg film), which is not currently

covered by this plan, filled once a month.

       25.     This analysis could not be performed for the remaining drugs the relator alleges in

the second amended complaint.

       26.     For Harvoni (90-400 mg tablet), the 2022 SilverScript Choice Part D plan does not

cover either the brand or the generic equivalent.

       27.     For Asacol HD (800mg tablet delayed release), Canasa (1000mg suppositories),

Istalol (.5% solution), and Xopenex (45mcg/act aerosol), the 2022 SilverScript Choice Part D plan

covers the generic equivalent, not the brand.

       28.     For Ventolin HFA (108 (90 base) mcg/act aerosol solution), the 2022 SilverScript

Choice Part D plan covers both the brand and the generic equivalent.

       29.     For Voltaren gel, Medicare Plan Finder’s search function did not recognize the

brand name Voltaren.




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                                      SilverScript SmartRx

       30.     Attached hereto as Exhibit 18 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Copaxone (20mg/ml solution prefilled syringe),

which is currently covered by this plan, to its generic equivalent glatiramer acetate (20 mg/ml

solution prefilled syringe), which is not currently covered by this plan, filled once a month with a

box of 30 syringes through the end of 2022.

       31.     Attached hereto as Exhibit 19 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Harvoni (90-400mg tablet), which is currently

covered by this plan, to its generic equivalent ledipasvir/sofosbuvir (90-400mg tablet), which is

not currently covered by this plan, filled once a month in a quantity of 30 tablets.

       32.     Attached hereto as Exhibit 20 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Epclusa (400-100mg tablet), which is currently

covered by this plan, to its generic equivalent sofosbuvir/velpatasvir (400-100mg tablet), which is

not currently covered by this plan, filled once a month in a quantity of 30 tablets.

       33.     Attached hereto as Exhibit 21 are the results of a Medicare Plan Finder inquiry

comparing the enrollee’s estimated costs for Advair (250-50mcg/act aerosol powder), which is

currently covered by this plan, to its generic equivalent fluticasone/salmeterol (250-50mcg/act

aerosol power), which is not currently covered by this plan, filled once a month for a pack of 60

powders.

       34.     This analysis could not be performed for the remaining drugs the relator alleges in

the second amended complaint.

       35.     For Renvela (2.4gm packet) and Renvela (800mg tablet), the 2022 SilverScript

SmartRx Part D plan does not cover either the brand or the generic equivalent.

       36.     For Asacol HD (800mg tablet delayed release), Canasa (1000mg suppositories),

Exelon (9.5mg/24hr patch), Invega (6mg tablet extended release 24 hour), Istalol (.5% solution),


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Suboxone (8-2mg film), and Xopenex (45mcg/act aerosol), the 2022 SilverScript SmartRx Part D

plan covers the generic equivalent, not the brand.

       37.     For Ventolin HFA (108 (90 base) mcg/act aerosol solution), the 2022 SilverScript

SmartRx Part D plan covers both the brand and the generic equivalent.

       38.     For Voltaren gel, Medicare Plan Finder’s search function did not recognize the

brand name Voltaren.

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       I declare under penalty of perjury that the foregoing is true and correct.


Dated: July 25, 2022                             _______________________
       Washington, DC                            Brian R. Stimson




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